Sores MM RISEAUY

 

RECEIVING DETAILS

Muhammed EDIT
Muhammed

Cash at WU agent location®

Receiver must present government-issued ID. Make
sure receiver name matches ID exactly.

PAYOUT LOCATION

Turkey

DELIVERY TIME!

In minutes

SUMMARY EDIT
Transfer amount 150.00 USD
Transfer fee? + 11.00 USD
Total 161.00 USD
Exchange rate? 1 USD = 4.5028 TRY
Transfer amount 675.42 TRY
Total to receiver 675.42 TRY

For all transfers, receiver may receive less due to
foreign taxes.

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(}  @ ‘wwwwesternunion.com i] :

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= PRINT
Review and Confirm

This is not a receipt. 06/14/2018

MY WU REWARDS

Reward points from this transfer will be added to My
WU membership number: 877502192

SENDING DETAILS

= Georgianna
Giampietro
Debit/Credit Card” EDIT

VISA ending in 4320

RECEIVING DETAILS

Muhammed EDIT
Muhammed

Cash at WU agent location®

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fi Syria Care Turkey (3 ne... Did you put in istanble ?...

This page is your receipt and we've sent it to
GERGIANNAGIAMPIETO@GMAIL.COM You may
want to print it for your records

Cash pickup instructions:
Muhammed will need the following at a

1. Government-issued photo ID.
2. Tracking number (MTCN): 112 018 6497.

 

Tracking number (MTCN): 112 018 6497

MY WU REWARDS

My WU #: 877 502 192
Points 1
earned:
Total 71
points:

SENDING DETAILS

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(}  @ ‘wwwwesternunion.com [i] : (}  @ ‘wwwwesternunion.com fi] :
Omar will need the following at a RECEIVING DETAILS
1. Government-issued photo ID. Omar Ali
2. Tracking number (MTCN): 479 518 3072. +90 5378220931

Cash at WU agent location®

Tracking number (MTCN): 479 518 3072
Receiver must present government-issued ID.

EJ (i Make sure receiver name matches ID exactly.

PAYOUT LOCATION

Turkey
MY WU REWARDS
DATE AVAILABLE '
=
a=) My WU#: 877 502 192
y June 21, 2018
Points 11
earned:
Total 32
points: SUMMARY
Transfer amount 200.00 USD
Transfer fee? + 11.00 USD
SENOS Total 211.00 USD

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{7s Exchange rate* 1 USD = 4.6115 TRY
922.31 TRY

Transfer amount

Gs) SDE a Total to receiver 922.31 TRY

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RECEIVING DETAILS

Ahmet Hayek
+90 5378220931

Cash at WU agent location®

Receiver must present government-issued ID.
Make sure receiver name matches ID exactly.

PAYOUT LOCATION
Turkey

DATE AVAILABLE !

June 25, 2018

SUMMARY
Transfer amount 500.00 USD
Transfer fee? + 11.00 USD
Total 511.00 USD
Exchange rate? 1 USD = 4.5317 TRY
Transfer amount 2265.87 TRY
Total to receiver 2265.87 TRY

For all transfers, receiver may receive less due to
foreian taxes.

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